Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 1 of 44




                                  UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF LOUISIANA

                                                                       )
       In re:                                                          ) Chapter 11
                                                                       )
       FSO JONES, LLC, et al.,1                                        ) Case No. 22-10196
                                                                       )
                                          Debtor.                      ) (Jointly Administered)
                                                                       )

                         SCHEDULES OF ASSETS AND LIABILITIES
                 FOR MIGRATION PRODUCTIONS I LA, LLC, CASE NO. 22-10288




   1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: FSO Jones, LLC (4300); and Migration Productions I LA, LLC (2103). The location of the Debtors’
         service address for purposes of these chapter 11 cases is: 3900 W. Alameda Ave., 32nd Floor, Burbank,
         California 91505.
Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 2 of 44




                                    UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF LOUISIANA

                                                                        )
       In re:                                                           )   Chapter 11
                                                                        )
       FSO JONES, LLC, et al.,1                                         )   Case No. 22-10196
                                                                        )
                                          Debtors.                      )   (Jointly Administered)
                                                                        )

            GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
                AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
           OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                            General

            FSO Jones, LLC and Migration Productions I LA, LLC, as debtors and debtors in possession
   in the above-captioned chapter 11 cases (the “Debtors,” and together with their non-debtor affiliates,
   the “Company”), have filed their respective Schedules of Assets and Liabilities (collectively, the
   “Schedules”) and Statements of Financial Affairs (collectively, the “Statements” and, together with
   the Schedules, the “Schedules and Statements”) in the United States Bankruptcy Court for the Eastern
   District of Louisiana (the “Bankruptcy Court”). The Debtors, with the assistance of their legal and
   financial advisors, prepared the unaudited Schedules and Statements in accordance with section 521
   of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), Rule 1007 of
   the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 1007-1 of the
   Uniform Local Rules of the United States Bankruptcy Court for the Eastern District of Louisiana.

          These Global Notes and Statement of Limitations, Methodology, and Disclaimers Regarding
   the Debtors’ Schedules and Statements (the “Global Notes”) are incorporated by reference in, and
   comprise an integral part of, all of the Schedules and Statements, and should be referred to and
   considered in connection with any review of the Schedules and Statements.2

           The Schedules and Statements do not purport to represent financial statements prepared in
   accordance with Generally Accepted Accounting Principles in the United States (“GAAP”) or any
   other foreign jurisdiction, as applicable, nor are they intended to be fully reconciled with the financial
   statements of each Debtor. Additionally, the Schedules and Statements contain unaudited information

   1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: FSO Jones, LLC (4300) and Migration Productions I LA, LLC (2103). The location of the Debtors’
         service address for purposes of these chapter 11 cases is: 3900 W. Alameda Ave., 32nd Floor, Burbank, California
         91505.

   2
         These Global Notes supplement and are in addition to any specific notes contained in each Debtor’s Schedules or
         Statements. The fact that the Debtors have prepared a Global Note with respect to any of the individual Debtor’s
         Schedules and Statements and not to those of another should not be interpreted as a decision by the Debtors to exclude
         the applicability of such Global Note to any of the Debtors’ other Schedules and Statements, as appropriate.
Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 3 of 44




   that is subject to further review, potential adjustment, and reflect the Debtors’ commercially
   reasonable efforts to report the assets and liabilities of each Debtor on an unconsolidated basis.

            In preparing the Schedules and Statements, the Debtors relied on financial data derived from
   their books and records that was available at the time of such preparation. Although the Debtors have
   made commercially reasonable efforts to ensure the accuracy and completeness of the Schedules and
   Statements, subsequent information or discovery may result in material changes to the Schedules and
   Statements. As a result, inadvertent errors or omissions may exist. Accordingly, the Debtors and
   their directors, managers, officers, agents, attorneys and financial advisors do not guarantee or warrant
   the accuracy or completeness of the data that is provided herein, and shall not be liable for any loss
   or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether negligent
   or otherwise, in procuring, compiling, collecting, interpreting, reporting, communicating, or
   delivering the information contained herein or the Schedules and Statements. In no event shall the
   Debtors or their directors, managers, officers, agents, attorneys and financial advisors be liable to any
   third party for any direct, indirect, incidental, consequential, or special damages (including, but not
   limited to, damages arising from the disallowance of a potential claim against the Debtors or damages
   to business reputation, lost business, or lost profits), whether foreseeable or not and however caused,
   even if the Debtors or their directors, managers, officers, agents, attorneys, and financial advisors are
   advised of the possibility of such damages.

           The Schedules and Statements have been signed by Noah Fogelson, Executive Vice President
   of Corporate Development, General Counsel, and Secretary of STX Filmworks, Inc., the Debtors’
   non-Debtor corporate parent, and an authorized signatory at each of the Debtors. In reviewing and
   signing the Schedules and Statements, Mr. Fogelson necessarily relied upon the efforts, statements,
   and representations of the Debtors’ other personnel and professionals. Mr. Fogelson has not (and
   could not have) personally verified the accuracy of each such statement and representation, including,
   but not limited to, statements and representations concerning amounts owed to creditors, classification
   of such amounts, and their addresses.

           For the avoidance of doubt, the Debtors reserve all of their rights to amend and supplement
   the Schedules and Statements as may be necessary or appropriate, but the Debtors and their agents,
   attorneys and financial advisors expressly do not undertake any obligation to update, modify, revise,
   or re-categorize the information provided herein, or to notify any third party should the information
   be updated, modified, revised, or re-categorized, except as required by applicable law or order of the
   Bankruptcy Court.

                               Global Notes and Overview of Methodology

   1.     Description of the Cases. On February 28, 2022 and March 18, 2022, respectively (as
          applicable to each Debtor, the “Petition Date”), each of the Debtors filed a voluntary petition
          for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court. On
          March 25, 2022, the Bankruptcy Court entered an order directing joint administration of the
          Debtors’ chapter 11 cases [Docket No. 78]. The Debtors continue to operate their businesses
          and manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of
          the Bankruptcy Code. The Debtors have not been substantively consolidated and accordingly,
          each Debtor has filed its own Schedules and Statements. The asset information provided



                                                       2
Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 4 of 44




          herein, except as otherwise noted, represents the asset and liability data of each Debtor as of
          the close of business on the Petition Date, to the extent available.

   2.     Global Notes Control. Disclosure of information in one or more Schedules, one or more
          Statements, or one or more exhibits or attachments to the Schedules or Statements, even if
          incorrectly placed, shall be deemed to be disclosed in the correct Schedules, Statements,
          exhibits, or attachments. In the event that the Schedules and Statements differ from the Global
          Notes, the Global Notes shall control.

   3.     Reservations and Limitations. Commercially reasonable efforts were made to prepare and
          file complete and accurate Schedules and Statements. However, as noted above, inadvertent
          errors or omissions may exist. The Debtors reserve all rights to amend and supplement the
          Schedules and Statements as may be necessary or appropriate, but do not undertake any
          obligation to do so, except as required by applicable law. Nothing contained in the Schedules
          and Statements constitutes a waiver of any of the Debtors’ rights or an admission of any kind
          with respect to these chapter 11 cases, including, but not limited to, any claims against the
          Debtors, any rights or claims of the Debtors against any third party or any issues involving
          substantive consolidation, equitable subordination, or defenses or causes of action arising
          under the provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable
          bankruptcy or non-bankruptcy laws to recover assets or avoid transfers. Any specific
          reservation of rights contained elsewhere in the Global Notes does not limit in any respect the
          general reservation of rights contained in this paragraph. Nothing contained in the Schedules
          and Statements or the Global Notes is intended as, or should be construed as, an admission or
          stipulation of the validity of any claim against the Debtors, any assertion made therein or
          herein, or a waiver of the Debtors’ rights to dispute any claim or assert any cause of action or
          defense against any party.

          (a)    Net Book Value of Assets. Unless otherwise indicated, the Debtors’ Schedules and
                 Statements reflect net book values as of close of business on the Petition Date. For
                 the avoidance of doubt, nothing contained in the Schedules and Statements is
                 indicative of the Debtors’ enterprise value. Book values of assets prepared in
                 accordance with GAAP generally do not reflect the current performance of the assets
                 and may differ materially from the actual value and/or performance of the underlying
                 assets. As such, the value listed in these Schedules and Statements cannot be, and was
                 not, used to determine the Debtors’ enterprise valuation.

          (b)    Recharacterization and Classifications. The Debtors have made commercially
                 reasonable efforts to correctly characterize, classify, categorize, and designate the
                 claims, assets, executory contracts, unexpired leases, and other items reported in the
                 Schedules and Statements. However, the Debtors may have improperly characterized,
                 classified, categorized, designated, or omitted certain items due to the complexity and
                 size of the Debtors’ business. Accordingly, the Debtors reserve all of their rights to
                 recharacterize, reclassify, recategorize, redesignate, add, or delete items reported in
                 the Schedules and Statements at a later time as necessary or appropriate, including,
                 without limitation, whether contracts or leases listed herein were deemed executory or
                 unexpired as of the Petition Date and remain executory and unexpired postpetition.



                                                     3
Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 5 of 44




          (c)   Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
                Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
                “executory” or “unexpired” does not constitute an admission by the Debtors of the
                legal rights of the claimant or contract counterparty or a waiver of the Debtors’ rights
                to recharacterize or reclassify such claim or contract.

          (d)   Claims Description. Any failure to designate a claim in the Schedules and Statements
                as “contingent,” “unliquidated,” or “disputed” does not constitute an admission by the
                Debtors that such claim or amount is not “contingent,” “unliquidated,” or “disputed.”
                The Debtors reserve all of their rights to dispute, or to assert offsets or defenses to, any
                claim reflected on their Schedules or Statements on any grounds, including, but not
                limited to, amount, liability, priority, status, or classification, or to otherwise
                subsequently designate any claim as “contingent,” “unliquidated,” or “disputed.”
                Moreover, the Debtors reserve all of their rights to amend their Schedules and
                Statements as necessary and appropriate. Listing a claim does not constitute an
                admission of liability by the Debtors.

          (e)   Estimates and Assumptions. The preparation of the Schedules and Statements
                required the Debtors to make reasonable estimates and assumptions with respect to the
                reported amounts, including but not limited to, amounts of assets and liabilities, the
                amount of contingent assets and contingent liabilities on the date of filing the
                Schedules and Statements, and the reported amounts of revenues and expenses during
                the applicable reporting periods. Actual results could differ materially from such
                estimates. The Debtors reserve all rights to amend the reported amounts of assets and
                liabilities, contingent assets and contingent liabilities, and revenues and expenses to
                reflect changes in those estimates or assumptions.

          (f)   Causes of Action. Despite their commercially reasonable efforts to identify all known
                assets, the Debtors may not have listed all of their causes of action (filed or potential)
                against third parties as assets in their Schedules and Statements, including, without
                limitation, avoidance actions arising under chapter 5 of the Bankruptcy Code and
                actions under other relevant bankruptcy and non-bankruptcy laws to recover assets.
                The Debtors reserve all of their rights with respect to any cause of action (including
                avoidance actions), controversy, right of setoff, cross claim, counterclaim, or
                recoupment and any claim on contracts or for breaches of duties imposed by law or in
                equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability,
                damage, judgment, account, defense, power, privilege, license, and franchise of any
                kind or character whatsoever, known, unknown, fixed or contingent, matured or
                unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or
                undisputed, secured or unsecured, assertable directly or derivatively, whether arising
                before, on, or after the Petition Date, in contract or in tort, in law or in equity, or
                pursuant to any other theory of law (collectively, “Causes of Action”) they may have,
                and neither these Global Notes nor the Schedules and Statements shall be deemed a
                waiver of any claims or Causes of Action or in any way prejudice or impair the
                assertion of such claims or Causes of Action.




                                                     4
Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 6 of 44




          (g)   Intellectual Property Rights. Exclusion of certain intellectual property shall not be
                construed to be an admission that such intellectual property rights have been
                abandoned, have been terminated, or otherwise have expired by their terms, or have
                been assigned or otherwise transferred pursuant to a sale, acquisition, or other
                transaction. Conversely, inclusion of certain intellectual property shall not be
                construed to be an admission that such intellectual property rights have not been
                abandoned, have not been terminated, or otherwise have not expired by their terms, or
                have not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
                transaction. The Debtors have made every effort to attribute intellectual property to
                the rightful Debtor owner, however, in some instances, intellectual property owned by
                one Debtor may, in fact, be owned by another. Accordingly, the Debtors reserve all
                of their rights with respect to the legal status of any and all intellectual property rights.

          (h)   Insiders. For purposes of the Schedules and Statements, the Debtors defined
                “insiders” pursuant to section 101(31) of the Bankruptcy Code as: (a) directors;
                (b) officers; (c) persons in control of the Debtors; (d) relatives of the Debtors’
                directors, officers or persons in control of the Debtors; and (e) debtor/non-debtor
                affiliates of the foregoing.

                The listing of a party as an insider for purposes of the Schedules and Statements is not
                intended to be, nor should it be, construed as an admission of any fact, right, claim, or
                defense, and all such rights, claims, and defenses are hereby expressly reserved.
                Persons listed as “insiders” have been included for informational purposes only. The
                Debtors do not take any position with respect to: (i) such person’s influence over the
                control of the Debtors; (ii) the management responsibilities or functions of such
                individual; (iii) the decision-making or corporate authority of such individual; or
                (iv) whether such individual could successfully argue that he or she is not an “insider”
                under applicable law, including the federal securities laws, or with respect to any
                theories of liability or for any other purpose.

   4.     Methodology.

          (a)   Basis of Presentation. For financial reporting purposes, the Debtors and certain of
                their non-Debtor affiliates ordinarily prepare consolidated financial statements.
                Combining the assets and liabilities set forth in the Debtors’ Schedules and Statements
                would result in amounts that would be substantially different from financial
                information that would be prepared on a consolidated basis under GAAP. Therefore,
                these Schedules and Statements do not purport to represent financial statements
                prepared in accordance with GAAP or any other generally accepted accounting
                principles of foreign jurisdictions, as applicable, nor are they intended to fully
                reconcile to the financial statements prepared by the Debtors. Unlike the consolidated
                financial statements, the Schedules and Statements reflect the assets and liabilities of
                each separate Debtor, except where otherwise indicated. Accordingly, the totals listed
                in the Schedules will likely differ, at times materially, from the consolidated financial
                reports prepared by the Debtors for financial reporting purposes or otherwise.




                                                     5
Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 7 of 44




                The Schedules and Statements are not intended to be fully reconciled with the financial
                statements of each Debtor. Additionally, the Schedules and Statements contain
                unaudited information that is subject to further review and potential adjustment, and
                reflect the Debtors’ commercially reasonable efforts to report the assets and liabilities
                of each Debtor on an unconsolidated basis. Moreover, given, among other things, the
                uncertainty surrounding the collection and ownership of certain assets and the
                valuation and nature of certain liabilities, to the extent that a Debtor shows more assets
                than liabilities, this is not an admission that the Debtor was solvent as of the Petition
                Date or at any time prior to the Petition Date. Likewise, to the extent a Debtor shows
                more liabilities than assets, this is not an admission that the Debtor was insolvent at
                the Petition Date or any time prior to the Petition Date.

          (b)   Confidential or Sensitive Information. To the extent the Debtors amend their
                Schedules and Statements in the future, there may be instances in the Schedules and
                Statements where the Debtors deem it necessary and appropriate to redact from the
                public record information such as names, addresses, or amounts. Reasons the Debtors
                may use this approach include an agreement between the Debtors and a third party
                regarding confidentiality, local restrictions on disclosure, concerns about the
                confidential or commercially sensitive nature of certain information, or concerns for
                the privacy of an individual. To the extent the Debtors amend their Schedules and
                Statements in a manner requiring such redaction, the Debtors will seek appropriate
                relief from the Bankruptcy Court, and will limit alterations to only what is necessary
                to protect the Debtors or a third party.

          (c)   Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments may
                properly be disclosed in multiple parts of the Statements and Schedules. To the extent
                these disclosures would be duplicative, the Debtors have determined to only list such
                assets, liabilities, and prepetition payments once.

          (d)   Executory Contracts. Although the Debtors made diligent efforts to attribute an
                executory contract to its rightful Debtor, in certain instances, the Debtors may have
                inadvertently failed to do so. Accordingly, the Debtors reserve all of their rights with
                respect to the named parties of any and all executory contracts, including the right to
                amend Schedule G.

          (e)   Umbrella or Master Agreements. Contracts listed in the Schedules and Statements
                may be umbrella or master agreements that cover relationships with some or all of the
                Debtors. Where relevant, such agreements have been listed in the Schedules and
                Statements only of the Debtor that signed the original umbrella or master agreement.

          (f)   Leases. The Debtors have not included in the Schedules and Statements the future
                obligations of any capital or operating leases. To the extent that there was an amount
                outstanding as of the Petition Date, the creditor has been included on Schedule F of
                the Schedules.

          (g)   Valuation. It would be prohibitively expensive, unduly burdensome, and an
                inefficient use of estate assets for the Debtors to obtain current market valuations of


                                                    6
Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 8 of 44




                all of their assets. The Debtors’ assets, which are intangible assets, are listed at
                undetermined amounts, as the net book values (if any) may differ materially from fair
                market values. Amounts ultimately realized may vary from net book value (or
                whatever value was ascribed) and such variance may be material. Accordingly, the
                Debtors reserve all of their rights to amend or adjust the value of each asset set forth
                herein. In addition, the amounts shown for total liabilities may exclude certain items
                identified as “unknown” or “undetermined,” and, thus, ultimate liabilities may differ
                materially from those stated in the Schedules and Statements. Also, assets that have
                been fully depreciated or that were expensed for accounting purposes (if any) either
                do not appear in these Schedules and Statements or are listed with a zero-dollar value,
                as such assets have no net book value. The omission of an asset from the Schedules
                and Statements does not constitute a representation regarding the ownership of such
                asset, and any such omission does not constitute a waiver of any rights of the Debtors
                with respect to such asset. Nothing in the Debtors’ Schedules and Statements shall be,
                or shall be deemed to be, an admission that any Debtor was solvent or insolvent as of
                the Petition Date or any time prior to the Petition Date.

          (h)   Property and Equipment. Unless otherwise indicated, owned property and
                equipment are stated at net book value. The Debtors may lease furniture, fixtures, and
                equipment from certain third-party lessors. To the extent possible, any such leases are
                set forth in the Schedules and Statements. Nothing in the Schedules and Statements
                is or shall be construed as an admission as to the determination as to the legal status of
                any lease (including whether any lease is a true lease or a financing arrangement), and
                the Debtors reserve all of their rights with respect to same.

          (i)   Undetermined Amounts. The description of an amount as “undetermined” is not
                intended to reflect upon the materiality of such amount.

          (j)   Unliquidated Amounts. Amounts that could not be fairly or readily quantified by the
                Debtors are scheduled as “unliquidated.”

          (k)   Totals. All totals that are included in the Schedules and Statements represent totals of
                all the known amounts included in the Schedules and Statements. To the extent there
                are unknown or undetermined amounts, the actual total may be different than the listed
                total. The description of an amount as “unknown” or “undetermined” is not intended
                to reflect upon the materiality of such amount. To the extent a Debtor is a guarantor
                of debt held by another Debtor, the amounts reflected in these Schedules are inclusive
                of each Debtor’s guarantor obligations.

          (l)   Allocation of Liabilities. The Debtors have sought to allocate liabilities between the
                prepetition and postpetition periods based on the information and research that was
                conducted in connection with the preparation of the Schedules and Statements. As
                additional information becomes available and further research is conducted, the
                allocation of liabilities between prepetition and postpetition periods may change. The
                Debtors reserve the right to amend the Schedules and Statements as they deem
                appropriate in this regard.



                                                    7
Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 9 of 44




                The liabilities listed on the Schedules do not reflect any analysis of claims under
                section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of
                their rights to dispute or challenge the validity of any asserted claims under section
                503(b)(9) of the Bankruptcy Code or the characterization of the structure of any such
                transaction or any document or instrument related to any creditor’s claim.

          (m)   Paid Claims. To the extent the Debtors pay any of the claims listed in the Schedules
                and Statements pursuant to any orders entered or that may be entered by the
                Bankruptcy Court, the Debtors reserve all of their rights to amend or supplement the
                Schedules and Statements or take other action, such as filing claims objections, as is
                necessary or appropriate to avoid overpayment of or duplicate payments for liabilities.
                Nothing contained herein should be deemed to alter the rights of any party in interest
                to contest a payment made pursuant to an order of the Bankruptcy Court where such
                order preserves the right to contest such payment. In addition and regardless of
                whether such claims are listed in the Schedules and Statements, to the extent claims
                are paid pursuant to an order of the Bankruptcy Court, the Debtors reserve all rights to
                amend or supplement their Schedules and Statements.

          (n)   Credits and Adjustments. The claims of individual creditors for, among other things,
                goods, products, services, or taxes are listed as the amounts entered on the Debtors’
                books and records and may either (a) not reflect credits, allowances, or other
                adjustments due from such creditors to the Debtors or (b) be net of accrued credits,
                allowances, or other adjustments that are actually owed by a creditor to the Debtors on
                a postpetition basis on account of such credits, allowances, or other adjustments earned
                from prepetition payments and postpetition payments, if applicable. The Debtors
                reserve all of their rights with regard to such credits, allowances, and other
                adjustments, including the right to assert claim objections and/or setoffs with respect
                to the same.

          (o)   Intercompany Claims. The listing (or non-listing) of any amounts with respect to
                receivables and payables among the Debtors and their non-Debtor affiliates is not, and
                should not be construed as, an admission of the characterization of any intercompany
                balance as debt, equity, or otherwise or an admission to the validity or non-validity of
                any such receivables and payables. For the avoidance of doubt, the Debtors reserve
                all rights, claims, and defenses in connection with any and all intercompany
                receivables and payables, including, but not limited to, with respect to the
                characterization of any intercompany claims. Without limiting the generality of the
                foregoing, certain intercompany receivables and payables may have been consolidated
                and netted in the Company’s books and records, which are prepared on a consolidated
                basis. Such treatment is not, and should not be construed as, an admission or
                conclusion of the Debtors regarding the allowance, classification, characterization of
                the amount or validity, or priority of any such intercompany receivables and payables
                or the validity of any netting or offsets in the Company’s books and records. The
                Debtors take no position in these Schedules and Statements as to whether any such
                amounts would be allowed as a claim or interest or not allowed at all. The Debtors
                reserve all rights to later change the amounts, characterization, classification,



                                                   8
Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 10 of
                                           44



               categorization, or designation of intercompany accounts, if any, reported in the
               Schedules and Statement

         (p)   Guarantees and Other Secondary Liability Claims. The Debtors have used
               commercially reasonable efforts to locate and identify guarantees and other secondary
               liability claims (collectively, “Guarantees”) in each of their executory contracts,
               unexpired leases, secured financings, debt instruments, and other such agreements.
               Where such Guarantees have been identified, they have been included in the relevant
               Schedule G and Schedule H for the Debtor or Debtors affected by such Guarantees.
               However, certain Guarantees embedded in the Debtors’ executory contracts,
               unexpired leases, secured financings, debt instruments, and other such agreements
               may have been inadvertently omitted. Thus, the Debtors reserve all of their rights to
               amend the Schedules to the extent that additional Guarantees are identified.

         (q)   Claims of Third-Party Related Entities. While the Debtors have made every effort
               to properly classify each claim listed in the Schedules as being either disputed or
               undisputed, liquidated or unliquidated, and contingent or noncontingent, the Debtors
               have not been able to fully reconcile all payments made to certain third parties and
               their related entities on account of the Debtors’ obligations to the same. Thus, the
               Debtors reserve all of their rights with respect to disputed claims.

         (r)   Excluded Assets and Liabilities. The Debtors may have excluded certain categories
               of assets, tax accruals, and liabilities from the Schedules and Statements, including,
               but not limited to: certain deferred charges, accounts, or reserves recorded only for
               purposes of complying with the requirements of GAAP; deferred tax assets and
               liabilities; goodwill and other intangibles; deferred revenue accounts; and certain
               accrued liabilities including, but not limited to, accrued salaries and employee benefits.
               In addition, the Debtors have excluded rejection damage claims of counterparties to
               executory contracts and unexpired leases that may or may not be rejected, to the extent
               such damage claims exist. Certain immaterial assets or liabilities may also have been
               excluded.

         (s)   Liens. The inventories, property, and equipment listed in the Schedules and
               Statements are presented without consideration of any mechanic’s, materialmen, or
               similar liens that may attach (or have attached) to such inventories, property, and
               equipment, and the Debtors reserve all of their rights with respect to such liens.

         (t)   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

         (u)   Setoffs. Some amounts listed in the Schedules and Statements may have been affected
               by setoffs or nettings by third parties of which the Debtors are not yet aware. The
               Debtors reserve all rights to challenge any setoff and/or recoupment rights that may
               be asserted.

         (v)   Employee Addresses. Where applicable, the Debtors have used the address of the
               Company as the applicable address of any employees of the Debtors identified in these
               Schedules and Statements.



                                                   9
Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 11 of
                                           44



   5.    Specific Schedules Disclosures.

         (a)    Schedule A/B, Part 1 – Cash and Cash Equivalents. As of the Petition Date, neither
                of the Debtors held a cash balance or maintained any bank accounts.

         (b)    Schedule A/B, Part 2 – Deposits and Prepayments. As of the Petition Date, neither
                of the Debtors had made any deposits or retainers.

         (c)    Schedule A/B, Part 3 – Accounts Receivable. As of the Petition Date, neither of the
                Debtors held any accounts receivable.

         (d)    Schedule A/B, Part 4 – Investments. As of the Petition Date, neither of the Debtors
                held any investments.

         (e)    Schedule A/B, Part 5 – Inventory, Excluding Agriculture Assets. As of the Petition
                Date, neither of the Debtors owned any inventory.

         (f)    Schedule A/B, Part 6 – Farming and Fishing-Related Assets (Other Than Titled
                Motor Vehicles and Land). As of the Petition Date, neither of the Debtors owned
                any farming or fishing-related assets.

         (g)    Schedule A/B, Part 7 – Office Furniture, Fixtures, and Equipment; and
                Collectibles. As of the Petition Date, neither of the Debtors owned any office
                furniture, fixtures, equipment, or collectibles.

         (h)    Schedule A/B, Part 8 – Machinery, Equipment, and Vehicles. As of the Petition
                Date, neither of the Debtors owned any machinery, equipment, or vehicles.

         (i)    Schedule A/B, Part 9 – Real Property. As of the Petition Date, neither of the Debtors
                owned any real property.

         (j)    Schedule A/B, Part 10 – Intangibles and Intellectual Property, Item 64. The
                Debtors have used commercially reasonable efforts to identify their intangible and
                intellectual property assets as of the Petition Date. The Debtors’ failure to list any
                cause of action, claim, or right of any nature is not an admission that such cause of
                action, claim, or right does not exist and should not be construed as a waiver of such
                cause of action, claim, or right. The Debtors have listed their executory contracts on
                Schedule G. The Debtors reserve all of their rights with respect to any and all
                executory contracts and unexpired leases, including whether such agreements are or
                are not executory contracts and the right to amend Schedule G.

         (k)    Schedule A/B, Part 11 – All Other Assets, Tax Refunds and Unused Net
                Operating Losses (NOLs), Item 72. The Debtors are disregarded entities for federal
                income tax purposes, and, as a result, there are no tax refunds or NOLs attributable to
                the Debtors for federal income tax purposes.

         (l)    Schedule D – Creditors Holding Claims Secured by Property. Except as otherwise
                agreed pursuant to a stipulation, or agreed order, or general order entered by the


                                                  10
Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 12 of
                                           44



               Bankruptcy Court that is or becomes final, the Debtors and their estates reserve their
               rights to dispute or challenge the validity, perfection, or immunity from avoidance of
               any lien purported to be granted or perfected in any specific asset for the benefit of a
               creditor listed on Schedule D of any Debtor. Moreover, although the Debtors may
               have scheduled claims of various creditors as secured claims, the Debtors reserve all
               rights to dispute or challenge the secured nature of any such creditor’s claim or the
               characterization of the nature or structure of any such transaction or any document or
               instrument related to such creditor’s claim. Further, while the Debtors have included
               the results of Uniform Commercial Code searches, the listing of such results is not nor
               shall it be deemed an admission as to the validity of any such lien. Conversely, the
               Debtors made reasonable, good faith efforts to include all liens on Schedule D, but
               may have inadvertently omitted to include an existing lien because of, among other
               things, the possibility that a lien may have been imposed after the Uniform
               Commercial Code searches were performed or a vendor may not have filed the
               requisite perfection documentation. Moreover, the Debtors have not included on
               Schedule D parties that may believe their claims are secured through setoff rights or
               inchoate statutory lien rights.

               Although there are multiple parties that hold a portion of the debt included in the
               Debtors’ prepetition senior secured credit facilities, only the administrative agents
               have been listed for purposes of Schedule D. The amounts reflected outstanding under
               the Debtors’ prepetition funded indebtedness reflect approximate principal and
               accrued interest as of the Petition Date.

               In certain instances, a Debtor may be a co-obligor, co-mortgagor, or guarantor with
               respect to scheduled claims of another Debtor, and no claim set forth on Scheduled D
               of any Debtor is intended to acknowledge claims of creditors that are or may be
               otherwise satisfied or discharged by other entities. The descriptions provided in
               Schedule D are intended only as a summary. Reference to the applicable loan
               agreements and related documents is necessary for a complete description of the
               collateral and the nature, extent, and priority of any liens. Nothing in the Global Notes
               or the Schedules and Statements shall be deemed a modification or interpretation of
               the terms of such agreements or documents.

         (m)   Schedule E/F – Creditors Who Have Unsecured Claims. The Debtors have made
               commercially reasonable efforts to include as contingent, unliquidated, or disputed the
               claim of any vendor not included on the Debtors’ open accounts payable that is
               associated with an account that has an accrual or receipt not invoiced.

                       (i)    Part 1 – Creditors with Priority Unsecured Claims. The Debtors do
               not believe there are any priority claims against the Debtors as of the Petition Date.
               The Debtors reserve all of their rights to dispute the amount and the priority status of
               any claim on any basis at any time.

                        (ii)    Part 2 – Creditors with Nonpriority Unsecured Claims. The
               liabilities identified in Schedule E/F, Part 2, are derived from the Company’s books
               and records. The Debtors made a commercially reasonable effort to set forth their


                                                  11
Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 13 of
                                           44



               unsecured obligations as of the Petition Date, although the actual amount of claims
               against the Debtors may vary from those liabilities represented on Schedule E/F,
               Part 2. The listed liabilities may not reflect the correct amount of any unsecured
               creditor’s allowed claims or the correct amount of all unsecured claims.

               Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties to
               executory contracts and unexpired leases. Such prepetition amounts, however, may
               be paid in connection with the assumption or assumption and assignment of an
               executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does not
               include claims that may arise in connection with the rejection of any executory
               contracts or unexpired leases, if any, that may or have been rejected in these chapter 11
               cases.

               In many cases, the claims listed on Schedule E/F, Part 2, arose, accrued, or were
               incurred on various dates or on a date or dates that are unknown to the Debtors or are
               subject to dispute. Where the determination of the date on which a claim arose,
               accrued, or was incurred would be unduly burdensome and costly to the Debtors’
               estates, the Debtors have not listed a specific date or dates for such claim.

               As of the time of filing of the Schedules and Statements, the Debtors may not have
               received all invoices for payables, expenses, and other liabilities that may have accrued
               prior to the Petition Date. Accordingly, the information contained in Schedules D and
               E/F may be incomplete. The Debtors reserve their rights to, but undertake no
               obligations to, amend Schedules D and E/F if and as they receive such invoices.

         (n)   Schedule G – Executory Contracts and Unexpired Leases. Listing a contract or
               agreement on Schedule G does not constitute an admission that such contract or
               agreement is an executory contract or unexpired lease or that such contract or
               agreement was in effect on the Petition Date or is valid or enforceable. The Debtors
               hereby reserve all their rights to dispute the validity, status, or enforceability of any
               contracts, agreements, leases or instruments set forth in Schedule G and to amend or
               supplement Schedule G as necessary. Certain of the leases and contracts listed on
               Schedule G may contain renewal options, guarantees of payment, indemnifications,
               options to purchase, rights of first refusal, and other miscellaneous rights. Such rights,
               powers, duties, and obligations are not set forth separately on Schedule G. The
               Debtors hereby expressly reserve the right to assert that any instrument listed on
               Schedule G is or is not an executory contract within the meaning of section 365 of the
               Bankruptcy Code. In addition, the Debtors may have entered into certain
               confidentiality and non-compete agreements or various other types of agreements in
               the ordinary course of their businesses, such as supplemental agreements and letter
               agreements, which documents may not be set forth in Schedule G. The Debtors
               reserve all of their rights with respect to such agreements.

               The Debtors reserve all of their rights, claims, and causes of action with respect to
               claims associated with any contracts and agreements listed on Schedule G, including
               their right to dispute or challenge the characterization, nature or structure of any



                                                  12
Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 14 of
                                           44



                transaction, agreement, contract, document or instrument (including any intercompany
                agreement) related to a creditor’s claim.

                The contracts, agreements, and leases listed on Schedule G may have expired or may
                have been modified, amended, or supplemented from time to time by various
                amendments, restatements, waivers, estoppel certificates, letters, memoranda, and
                other documents, instruments, and agreements that may not be listed therein despite
                the Debtors’ use of commercially reasonable efforts to identify such documents.

                Unless otherwise specified on Schedule G, each executory contract or unexpired lease
                listed thereon shall include all exhibits, schedules, riders, modifications, declarations,
                amendments, supplements, attachments, restatements, or other agreements made
                directly or indirectly by any agreement, instrument, or other document that in any
                manner affects such executory contract or unexpired lease, without respect to whether
                such agreement, instrument, or other document is listed thereon.

                The listing of any contract, agreement or instrument on Schedule G does not constitute
                an admission by the Debtors as to the validity of any such contract, agreement or
                instrument. The Debtors reserve the right to dispute the effectiveness of any such
                contract, agreement or instrument listed on Schedule G or to amend Schedule G at any
                time to remove any contract, agreement or instrument.

                Omission of a contract, agreement or instrument from Schedule G does not constitute
                an admission that such omitted contract, agreement or instrument is not an executory
                contract or unexpired lease. The Debtors’ rights under the Bankruptcy Code with
                respect to any such omitted contracts, agreements or instruments are not impaired by
                the omission.

                Certain Debtors are guarantors and parties to guaranty agreements regarding the
                Debtors’ prepetition credit facilities. The guaranty obligations arising under these
                agreements are reflected on Schedules D and F only.

         (o)    Schedule H – Co-Debtors. For purposes of Schedule H, the Debtors may not have
                identified certain guarantees that are embedded in the Debtors’ executory contracts,
                unexpired leases, secured financings, debt instruments, and other agreements. The
                Debtors reserve their rights to amend Schedule H to the extent that additional
                guarantees are identified or such guarantees are discovered to have expired or become
                unenforceable.

   6.    Specific Statements Disclosures.

         (a)    Statements, Part 2, Question 3 – Certain Payments or Transfers to Creditors
                within 90 Days Before Filing This Case. Any payments made to the Debtors’
                bankruptcy case professionals on behalf of the Debtors within the 90 days prior to the
                Petition Date are disclosed in response to SOFA 11, and therefore are not listed in
                SOFA 3. The Debtors have no employees and no employee or director or officer
                compensation obligations.



                                                   13
Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 15 of
                                           44



         (b)   Statements, Part 2, Question 6 – Setoffs. For a discussion of setoffs and nettings
               incurred by the Debtors, please refer to paragraph 4(u) of these Global Notes.

         (c)   Statements, Part 6, Question 11 – Payments Related to Bankruptcy. All payments
               for services of any entities that provided consultation concerning debt restructuring
               services, relief under the Bankruptcy Code, or preparation of a petition in bankruptcy
               within one year immediately preceding the Petition Date are included in the relevant
               Statement for the Debtor or Debtors. As disclosed in response to Statements, Part 6,
               Question 11, all such payments were made on behalf of the Debtors by their
               non-Debtor affiliate. The Debtors have endeavored to list only payments made for
               debt restructuring services, however, these balances may include payments for
               services not related to restructuring or bankruptcy related matters. Additional
               information regarding the Debtors’ retention of professionals is or will be more fully
               described in the individual retention applications for those professionals.

         (d)   Statements, Part 13, Question 26 – Books, Records, and Financial Statements.
               The Debtors have listed those individuals and/or firms that have been identified as
               having primary responsibility to maintain or supervise the keeping of the Debtors’
               books and records. Notwithstanding this listing, additional parties not listed may have
               had access to the Debtors’ books and records. In addition, pursuant to the requirements
               of the Securities Exchange Act of 1934, as amended, the Company or affiliates of the
               Company have prepared and filed or furnished with the SEC certain reports
               (collectively, the “SEC Filings”). Certain of these SEC Filings contain consolidated
               financial information relating to the Debtors and certain of their affiliates.
               Additionally, the Company or certain of its affiliates, as applicable, have historically
               provided information, such as annual reports, on their website. Because the SEC
               Filings and other reports are of public record, the Debtors do not maintain records of
               the parties who requested or obtained copies of any of the SEC Filings or similar
               publicly-disclosed records from the SEC, the Debtors, the Company, or other sources.

         (e)   Statements, Part 13, Question 28 – Current Partners, Officers, Directors, and
               Shareholders. The Debtors incorporate by reference the List of Equity Security
               Holders filed as part of their voluntary petitions for relief under chapter 11 of the
               Bankruptcy Code.

         (f)   Statements, Part 13, Question 31 – Membership in Consolidated Group for Tax
               Purposes. The Debtors are each disregarded entities for federal income tax purposes.




                                                 14
          Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 16 of
                                                     44

Debtor Name               Migration Productions I LA, LLC
United States Bankruptcy Court for the Eastern District of Louisiana
Case number (if known):                         22-10288

                                                                                                                                                                                   Check if this is an
                                                                                                                                                                                   amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                             12/15



  Part 1:         Summary of Assets


  1. Schedule A/B: Assets - Real and Personal Property                                   (Official Form 206A/B)

    1a. Real property:
        Copy line 88 from Schedule A/B.......................................................................................................................                             $0.00



    1b. Total personal property:
        Copy line 91A from Schedule A/B.....................................................................................................................                              $0.00



    1c. Total of all property:
        Copyline 92 from Schedule A/B.......................................................................................................................                              $0.00




  Part 2:         Summary of Liabilities




    2.    Schedule D: Creditors Who Have Claims Secured by Property             (Official Form 206D)
          Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D...........................                                                $147,324,681.00



    3.    Schedule E/F: Creditors Who Have Unsecured Claims                                      (Official Form 206E/F)


         3a. Total claim amounts of priority unsecured claims:
             Copy the total claims from Part 1 from the line 5a of Schedule E/F.............................................................                                               $0.00



         3b. Total amount of claims of nonpriority amount of unsecured claims:
             Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F.........................................                                       +     $8,000,000.00




         4.   Total liabilities .........................................................................................................................................       $155,324,681.00
              Lines 2 + 3a + 3b
          Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 17 of
                                                     44
Debtor Name          Migration Productions I LA, LLC
United States Bankruptcy Court for the Eastern District of Louisiana
Case number (if known):              22-10288
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing
Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                              12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no
book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases         (Official Form 206G).

Be complete and accurate as possible. If more space is needed, attach a separate spreadsheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the approriate category or attach separate supporting schedules, such as a fixed asset schedule
or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor's interest,
do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:      Cash and cash equivalents




 1.   Does the debtor have any cash or cash equivalents?


          No. Go to Part 2.

          Yes. Fill in the information below.



           All cash or cash equivalents owned or controlled by the debtor                                                           Current value of
                                                                                                                                    debtor's interest
 2.   Cash on hand



 3.   Checking, savings, money market, or financial brokerage accounts
      Name of institution (bank or brokerage firm)                   Type of account                      Last 4 digits of account number




 4.   Other cash equivalents




 5.   Total of Part 1
      Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


Part 2:      Deposits and prepayments




 6.   Does the debtor have any deposits or prepayments?




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                  Page 1
          Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 18 of
                                                     44

Debtor Migration Productions I LA, LLC                                                                  Case Number (if known) 22-10288


          No. Go to Part 3.

          Yes. Fill in the information below.



                                                                                                                                  Current value of
                                                                                                                                  debtor's interest
 7.   Deposits, including security deposits and utility deposits
      Description, including name of holder of deposit




 8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
      Description, including name of holder of prepayment




 9.   Total of Part 2
      Add lines 7 through 8. Copy the total to line 81.


Part 3:      Accounts Receivable




 10. Does the debtor have any accounts receivable?


          No. Go to Part 4.

          Yes. Fill in the information below.



                                                                                                                                  Current value of
                                                                                                                                  debtor's interest
 11. Accounts receivable


      11a. 90 days old or less:                                                -                                   =
                                          face amount                              doubtful or uncollectible accounts
      11b. Over 90 days old:                                                   -                                   =
                                          face amount                              doubtful or uncollectible accounts



 12. Total of Part 3
      Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:      Investments




 13. Does the debtor own any investments?




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                Page 2
          Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 19 of
                                                     44

Debtor Migration Productions I LA, LLC                                                             Case Number (if known) 22-10288


          No. Go to Part 5.

          Yes. Fill in the information below.



                                                                                                         Valuation method         Current value of
                                                                                                         used for current value   debtor's interest
 14. Mutual funds of publicly traded stocks not included in Part 1
      Name of fund or stock:




 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture
      Name of entity:                                           % of ownership:




 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1
      Describe:




 17. Total of Part 4
      Add lines 14 through 16. Copy the total to line 83.


Part 5:      Inventory, excluding agricultural assets




 18. Does the debtor own any inventory (excluding agricultual assets)?


          No. Go to Part 6.

          Yes. Fill in the information below.



           General description                   Date of the last     Net book value of                  Valuation method         Current value of
                                                 physical inventory   debtor's interest                  used for current value   debtor's interest
 19. Raw Materials




 20. Work in progress




 21. Finished goods, including goods held for resale




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                Page 3
          Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 20 of
                                                     44

Debtor Migration Productions I LA, LLC                                                             Case Number (if known) 22-10288




 22. Other inventory or supplies




 23. Total of Part 5
      Add lines 19 through 22. Copy the total to line 84.




 24. Is any of the property listed in Part 5 perishable?


          No.

          Yes.




 25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?


          No.

          Yes.       Book Value $                           Valuation Method                       Current Value $



 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?


          No.

          Yes.



Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)




 27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?


          No. Go to Part 7.

          Yes. Fill in the information below.



           General description                                         Net book value of                 Valution method used   Current value of
                                                                       debtor's interest                 for current value      debtor's interest
 28. Crops - either planted of harvested




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                              Page 4
        Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 21 of
                                                   44

Debtor Migration Productions I LA, LLC                                                              Case Number (if known) 22-10288


29. Farm animals
     Examples: Livestock, poultry, farm-raised fish




30. Farm machinery and equipment
     (Other than titled motor vehicles)




31. Farm and fishing supplies, chemicals, and feed




32. Other farming and fishing-related property not already listed in Part 6




33. Total of Part 6
     Add lines 28 through 32. Copy the total to line 85.




34. Is the debtor a member of an agricultural cooperative?


        No.

        Yes.




     Is any of the debtor's property stored at the cooperative?


        No.

        Yes.




35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?


        No.

        Yes.       Book Value $                            Valuation Method                         Current Value $



36. Is a depreciation schedule available for any of the property listed in Part 6?


        No.

        Yes.




  Official Form 206A/B                                Schedule A/B: Assets - Real and Personal Property                          Page 5
          Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 22 of
                                                     44

Debtor Migration Productions I LA, LLC                                                                     Case Number (if known) 22-10288




 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?


          No.

          Yes.



Part 7:      Office furniture, fixtures, and equipment; and collectibles




 38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?


          No. Go to Part 8.

          Yes. Fill in the information below.



           General description                                           Net book value of                        Valuation method           Current value of
                                                                         debtor's interest                        used for current value     debtor's interest
 39. Office furniture




 40. Office fixtures




 41. Office equipment, including all computer equipment and communication systems equipment and software




 42. Collectibles
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or
      baseball card collections; other collections, memorabilia, or collectibles




 43. Total of Part 7.
      Add lines 39 through 42. Copy the total to line 86.




 44. Is a depreciation schedule available for any of the property listed in Part 7?




   Official Form 206A/B                               Schedule A/B: Assets - Real and Personal Property                                          Page 6
          Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 23 of
                                                     44

Debtor Migration Productions I LA, LLC                                                             Case Number (if known) 22-10288


          No.

          Yes.




 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?


          No.

          Yes.



Part 8:      Machinery, equipment, and vehicles




 46. Does the debtor own or lease any machinery, equipment, or vehicles?


          No. Go to Part 9.

          Yes. Fill in the information below.



           General description                                         Net book value of                 Valuation method         Current value of
                                                                       debtor's interest                 used for current value   debtor's interest
 47. Automobiles, vans, trucks, motorcycles, trailers, or titled farm vehicles




 48. Watercraft, trailers, motors, and related accessories
      Examples: Boats, trailers, motors, floating homes, personal watercraft, fishing vessels




 49. Aircraft and accessories




 50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)




 51. Total of Part 8.
      Add lines 47 through 50. Copy the total to line 87.




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                Page 7
          Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 24 of
                                                     44

Debtor Migration Productions I LA, LLC                                                                   Case Number (if known) 22-10288


 52. Is a depreciation schedule available for any of the property listed in Part 8?


          No.

          Yes.




 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?


          No.

          Yes.



Part 9:      Real property




 54. Does the debtor own or lease any real property?


          No. Go to Part 10.

          Yes. Fill in the information below.




 55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest


      Description and location of property                Nature and extent of     Net book value of debtor's Valuation method       Current value of
                                                          debtor's interest in     interest                   used for current value debtor's interest
                                                          property




 56. Total of Part 9.
      Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.




 57. Is a depreciation schedule available for any of the property listed in Part 9?


          No.

          Yes.




 58. Has any of the property listed in Part 9 been appraised by a professional within the last year?




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                   Page 8
           Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 25 of
                                                      44

Debtor Migration Productions I LA, LLC                                                              Case Number (if known) 22-10288


           No.

           Yes.



Part 10:      Intangibles and intellectual property




 59. Does the debtor have any interests in intangibles or intellectual property?


           No. Go to Part 11.

           Yes. Fill in the information below.



            General description                                        Net book value of                  Valuation method         Current value of
                                                                       debtor's interest                  used for current value   debtor's interest
 60. Patents, copyrights, trademarks, or trade secrets




 61. Internet domain names and websites




 62. Licenses, franchises, and royalties




 63. Customer lists, mailing lists, or other compilations




 64. Other intangibles, or intellectual property




   64.1    Rights under that certain Distribution Agreement, dated as of
                                                                      Not Available                       Not Applicable                 Undetermined
           August 27, 2021 and with effect from February 1, 2021, by
           and between 30West VOA, LLC, STX Financing, LLC, and
           Migration Productions I LA, LLC, as assignee


 65. Goodwill




   Official Form 206A/B                               Schedule A/B: Assets - Real and Personal Property                                Page 9
           Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 26 of
                                                      44

Debtor Migration Productions I LA, LLC                                                                    Case Number (if known) 22-10288


 66. Total of Part 10.
      Add lines 60 through 65. Copy the total to line 89.




 67. Do your lists or records include personally identifiable information of customers?


           No.

           Yes.




 68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?


           No.

           Yes.




 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?


           No.

           Yes.



Part 11:      All other assets




 70. Does the debtor own any other assets that have not yet been reported on this form?


           No. Go to Part 12.

           Yes. Fill in the information below.



                                                                                                                                    Current value of
                                                                                                                                    debtor's interest
 71. Notes receivable
      Description (include name of obligor)

                                                                                      -                                 =

                                                                 Total face amount        Doubtful or uncollectible amount
 72. Tax refunds and unused net operating losses (NOLs)
      Description (for example, federal, state, local)




   Official Form 206A/B                                  Schedule A/B: Assets - Real and Personal Property                              Page 10
        Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 27 of
                                                   44

Debtor Migration Productions I LA, LLC                                                            Case Number (if known) 22-10288


73. Interests in insurance policies or annuities




74. Causes of action against third parties (whether or not a lawsuit has
    been filed)




      Nature of claim
      Amount Requested
75. Other contingent and unliquidated claims or causes of action of every
    nature, including counterclaims of the debtor and rights to set off
    claims




      Nature of claim
      Amount Requested
76. Trusts, equitable or future interests in property




77. Other property of any kind not already listed
     Examples: Season tickets, country club membership




78. Total of Part 11.
     Add lines 71 through 77. Copy the total to line 90.




79. Has any of the property listed in Part 11 been appraised by a professional within the last year?


        No.

        Yes.




  Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                          Page 11
           Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 28 of
                                                      44

Debtor Migration Productions I LA, LLC                                                                                           Case Number (if known) 22-10288

Part 12:     Summary

            Type of property                                                                        Current value of                                        Current value of
                                                                                                    personal property                                       real property


   80. Cash, cash equivalents, and financial assets.               Copy line 5, Part 1.


   81. Deposits and prepayments.          Copy line 9, Part 2.


   82. Accounts receivable.        Copy line 12, Part 3.


   83. Investments. Copy line 17, Part 4.


   84. Inventory. Copy line 23, Part 5.


   85. Farming and fishing-related assets.          Copy line 33, Part 6.



   86. Office furniture, fixtures, and equipment; and collectibles.
       Copy line 43, Part 7.


   87. Machinery, equipment, and vehicles.              Copy line 51, Part 8.


   88. Real Property.      Copy line 56, Part 9.



   89. Intangibles and intellectual property.           Copy line 66, Part 10.


   90. All other assets.       Copy line 78, Part 11.



   91. Total. Add lines 80 through 90 for each column.                                     91a.                              $0.00        + 91b.                             $0.00



   92. Total of all property on Schedule A/B.           Lines 91a + 91b = 92..............................................................................................               $0.00




   Official Form 206A/B                                  Schedule A/B: Assets - Real and Personal Property                                                                     Page 12
          Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 29 of
Debtor Name     Migration Productions I LA, LLC
                                                     44
United States Bankruptcy Court for the Eastern District of Louisiana
Case number (if known):                  22-10288                                                                                                               Check if this is an
                                                                                                                                                                amended filing
Official Form 206D
Schedule D - Creditors Who Have Claims Secured by Property                                                                                                                   12/15

Be as complete and accurate as possible
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
   X Yes. Fill in all of the information below.
  Part 1:         List Creditors Who Have Secured Claims
2. List in alphabetical order all creditors who have secured claims.If a creditor has more than one                                     Amount of Claim            Value of collateral
   secured claim, list the creditor separately for each claim.                                                                            Do not deduct the        that supports this
                                                                                                                                          value of collateral      claim

2.1   Creditor's name                                                  Describe debtor's property that is subject to a lien
      JPMORGAN CHASE BANK, NA, AS ADMINISTRATI                         SUBSTANTIALLY ALL ASSETS AND PROCEEDS THEREOF
                                                                                                                                             $124,113,800.00               UNKNOWN
      Creditor's mailing address
      2029 CENTURY PARK E, 38TH FL
      LOS ANGELES, CA 90067
                                                                       Describe the lien


      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred                                               No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              Yes. Specify each creditor, including this               As of the petition filing date, the claim is:
              creditor, and its relative priority.
                                                                           Contingent
                                                                           Unliquidated
          Senior - JPMorgan Chase Bank, NA
          Junior - Red Fish Blue Fish, LLC                                 Disputed




2.2   Creditor's name                                                  Describe debtor's property that is subject to a lien
      RED FISH BLUE FISH, LLC                                          SUBSTANTIALLY ALL ASSETS AND PROCEEDS THEREOF
                                                                                                                                              $23,210,881.00               UNKNOWN
      Creditor's mailing address
      101 S REID ST, STE 307, OFFICE 313
      SIOUX FALLS, SD 57103
                                                                       Describe the lien


      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred                                               No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,           Contingent
             and its relative priority.
                                                                           Unliquidated
                                                                           Disputed
             Yes. The relative priority of creditors is specified on
             lines   2.1




3. Total of the dollar amounts from Part 1, Column A, including the amounts from the                                                   $147,324,681.00
   Additional Page, if any.

 Official Form 206D                                        Schedule D: Creditors Who Have Claims Secured by Property                                   1 of 1
           Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 30 of
Debtor Name      Migration Productions I LA, LLC      44
United States Bankruptcy Court for the Eastern District of Louisiana
Case number (if known):            22-10288                                                                                             Check if this is an
                                                                                                                                        amended filing
Official Form 206E/F
Schedule E/F - Creditors Who Have Claims Unsecured Claims                                                                                             12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

  Part 1:        List All Creditors with PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims?
    X No. Go to Part 2.
        Yes. Go to line 2.
2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part.     If the debtor has more than
   3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.
                                                                                                               Total claim               Priority amount

2.1    Priority creditor's name and mailing address         As of the petition filing date, the claim is:   $___________
                                                                                                                   #Name?               $___________
                                                                                                                                              #Name?

                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                            Basis for the claim:
       Date or dates debt was incurred

                                                            Is the claim subject to offset?
       Last 4 digits of account
       number                                                    No
                                                                 Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (      )




Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                   1 of 4
           Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 31 of
Debtor Name      Migration Productions I LA, LLC      44              Case number (if known): 22-10288

   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                 Amount of claim

3.1      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $8,000,000.00
         30WEST VOA, LLC
         900 BROADWAY, STE 604                                              Contingent
         NEW YORK, NY 10003
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 CONTRACT



         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                            2 of 4
           Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 32 of
Debtor Name      Migration Productions I LA, LLC      44              Case number (if known): 22-10288


  Part 3:        List Others to Be Notified About Unsecured Claims
4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are
collection agencies, assignees of claims listed above, and attorneys for unsecured creditors
  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.
                                                                                                                                                Last 4 digits of
                                                                                                 On which line in Part1 or Part 2 is the        account number,
          Name and mailing address                                                               related creditor (if any) listed?              if any




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                       3 of 4
           Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 33 of
Debtor Name      Migration Productions I LA, LLC      44              Case number (if known): 22-10288


   Part 4:        Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.




5a. Total claims from Part 1                                                                                $0.00


5b. Total claims from Part 2                                                                         $8,000,000.00



5c. Total claims of Parts 1 and 2
                                                                                                     $8,000,000.00
    Lines 5a + 5b = 5c




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims   4 of 4
        Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 34 of
Debtor Name   Migration Productions I LA, LLC
                                                   44
United States Bankruptcy Court for the Eastern District of Louisiana
Case number (if known):                22-10288


                                                                                                                                         Check if this is an
                                                                                                                                         amended filing
Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


  1. Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.

      X Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B)


                                                                                            State the name and mailing address for all other parties with
 2. List all contracts and unexpired leases                                                 whom the debtor has an executory contract or unexpired lease

         State what the contract or     "THE CONTRACTOR" DISTRIBUTION AGREEMENT              30WEST VOA, LLC
         lease is for and the nature                                                         900 BROADWAY, STE 604
2.1                                                                                          NEW YORK, NY 10003
         of the debtor's interest


         State the term remaining
         List the contract number of
         any government contract




  Official Form 206G                            Schedule G: Executory Contracts and Unexpired Leases                         Page 1 of 1
       Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 35 of
                                                  44
Debtor Name           Migration Productions I LA, LLC
United States Bankruptcy Court for the Eastern District of Louisiana
Case number (if known):             22-10288


                                                                                                                                         Check if this is an
                                                                                                                                         amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


  1. Does the debtor have any codebtors?
        No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.

      X Yes.
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

      Column 1: Codebtor                                                                         Column 2: Creditor

      Name                     Mailing Address                                                   Name                                  Check all schedules
                                                                                                                                       that apply
2.1     ADRIFT PRODUCTIONS UK         3900 W ALAMEDA AVE, 32ND FL                              JPMorgan Chase Bank, NA, as                        D
        LIMITED                       BURBANK, CA 91505                                        Administrative Agent                               E/F
                                                                                                                                                  G



2.2     ADRIFT PRODUCTIONS UK         3900 W ALAMEDA AVE, 32ND FL                              Red Fish Blue Fish, LLC                            D
        LIMITED                       BURBANK, CA 91505
                                                                                                                                                  E/F
                                                                                                                                                  G



2.3     BAD MOMS LOUISIANA, LLC       3900 W ALAMEDA AVE, 32ND FL                              JPMorgan Chase Bank, NA, as                        D
                                      BURBANK, CA 91505                                        Administrative Agent                               E/F
                                                                                                                                                  G



2.4     BAD MOMS LOUISIANA, LLC       3900 W ALAMEDA AVE, 32ND FL                              Red Fish Blue Fish, LLC                            D
                                      BURBANK, CA 91505
                                                                                                                                                  E/F
                                                                                                                                                  G



2.5     BADDER MOMS, LLC              3900 W ALAMEDA AVE, 32ND FL                              JPMorgan Chase Bank, NA, as                        D
                                      BURBANK, CA 91505                                        Administrative Agent                               E/F
                                                                                                                                                  G




 Official Form 206H                                      Schedule H: Codebtors                                                    Page 1 of 9
         Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 36 of
                                                    44
Debtor Name              Migration Productions I LA, LLC                                         Case number (if known): 22-10288


          Additional Page(s) if Debtor has More Codebtors
      Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      Column 1: Codebtor                                                             Column 2: Creditor
      Name                     Mailing Address                                         Name                                    Check all schedules
                                                                                                                               that apply
2.6       BADDER MOMS, LLC            3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                      BURBANK, CA 91505
                                                                                                                                     E/F
                                                                                                                                     G



2.7       FSO JONES NY, LLC           3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                      BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                     G



2.8       FSO JONES NY, LLC           3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                      BURBANK, CA 91505
                                                                                                                                     E/F
                                                                                                                                     G



2.9       FSO JONES, LLC              3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                      BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                     G



2.10      FSO JONES, LLC              3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                      BURBANK, CA 91505
                                                                                                                                     E/F
                                                                                                                                     G



2.11      MARS BOYS, LLC              3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                      BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                     G



2.12      MARS BOYS, LLC              3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                      BURBANK, CA 91505
                                                                                                                                     E/F
                                                                                                                                     G



2.13      MILE 22, LLC                3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                      BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                     G




 Official Form 206H                                  Schedule H: Codebtors                                             Page 2 of 9
       Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 37 of
                                                  44
Debtor Name           Migration Productions I LA, LLC                                         Case number (if known): 22-10288


       Additional Page(s) if Debtor has More Codebtors
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                    Check all schedules
                                                                                                                            that apply
2.14   MILE 22, LLC                3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.15   MINNETONKA DREAMS, LLC      3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                   BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                  G



2.16   MINNETONKA DREAMS, LLC      3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.17   POLE SISTERS, LLC           3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                   BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                  G



2.18   POLE SISTERS, LLC           3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.19   PUPPET MURDERS, LLC         3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                   BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                  G



2.20   PUPPET MURDERS, LLC         3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.21   SECOND ACT PRODUCTIONS, 3900 W ALAMEDA AVE, 32ND FL                          JPMorgan Chase Bank, NA, as                   D
       LLC                     BURBANK, CA 91505                                    Administrative Agent                          E/F
                                                                                                                                  G




 Official Form 206H                               Schedule H: Codebtors                                             Page 3 of 9
       Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 38 of
                                                  44
Debtor Name           Migration Productions I LA, LLC                                         Case number (if known): 22-10288


       Additional Page(s) if Debtor has More Codebtors
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   Column 1: Codebtor                                                             Column 2: Creditor
   Name                      Mailing Address                                        Name                                    Check all schedules
                                                                                                                            that apply
2.22   SECOND ACT PRODUCTIONS, 3900 W ALAMEDA AVE, 32ND FL                          Red Fish Blue Fish, LLC                       D
       LLC                     BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.23   SEVENTEEN BRIDGES, LLC       3900 W ALAMEDA AVE, 32ND FL                     JPMorgan Chase Bank, NA, as                   D
                                    BURBANK, CA 91505                               Administrative Agent                          E/F
                                                                                                                                  G



2.24   SEVENTEEN BRIDGES, LLC       3900 W ALAMEDA AVE, 32ND FL                     Red Fish Blue Fish, LLC                       D
                                    BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.25   STX ANIMATION, LLC           3900 W ALAMEDA AVE, 32ND FL                     JPMorgan Chase Bank, NA, as                   D
                                    BURBANK, CA 91505                               Administrative Agent                          E/F
                                                                                                                                  G



2.26   STX ANIMATION, LLC           3900 W ALAMEDA AVE, 32ND FL                     Red Fish Blue Fish, LLC                       D
                                    BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.27   STX ENTERTAINMENT UK,        3900 W ALAMEDA AVE, 32ND FL                     JPMorgan Chase Bank, NA, as                   D
       LTD                          BURBANK, CA 91505                               Administrative Agent                          E/F
                                                                                                                                  G



2.28   STX ENTERTAINMENT UK,        3900 W ALAMEDA AVE, 32ND FL                     Red Fish Blue Fish, LLC                       D
       LTD                          BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.29   STX FILMDEV II, LLC          3900 W ALAMEDA AVE, 32ND FL                     JPMorgan Chase Bank, NA, as                   D
                                    BURBANK, CA 91505                               Administrative Agent                          E/F
                                                                                                                                  G




 Official Form 206H                                Schedule H: Codebtors                                            Page 4 of 9
       Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 39 of
                                                  44
Debtor Name           Migration Productions I LA, LLC                                         Case number (if known): 22-10288


       Additional Page(s) if Debtor has More Codebtors
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   Column 1: Codebtor                                                             Column 2: Creditor
   Name                      Mailing Address                                        Name                                    Check all schedules
                                                                                                                            that apply
2.30   STX FILMDEV II, LLC          3900 W ALAMEDA AVE, 32ND FL                     Red Fish Blue Fish, LLC                       D
                                    BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.31   STX FILMDEV, LLC             3900 W ALAMEDA AVE, 32ND FL                     JPMorgan Chase Bank, NA, as                   D
                                    BURBANK, CA 91505                               Administrative Agent                          E/F
                                                                                                                                  G



2.32   STX FILMDEV, LLC             3900 W ALAMEDA AVE, 32ND FL                     Red Fish Blue Fish, LLC                       D
                                    BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.33   STX FILMWORKS, INC           3900 W ALAMEDA AVE, 32ND FL                     JPMorgan Chase Bank, NA, as                   D
                                    BURBANK, CA 91505                               Administrative Agent                          E/F
                                                                                                                                  G



2.34   STX FILMWORKS, INC           3900 W ALAMEDA AVE, 32ND FL                     Red Fish Blue Fish, LLC                       D
                                    BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.35   STX FINANCING, LLC           3900 W ALAMEDA AVE, 32ND FL                     JPMorgan Chase Bank, NA, as                   D
                                    BURBANK, CA 91505                               Administrative Agent                          E/F
                                                                                                                                  G



2.36   STX FINANCING, LLC           3900 W ALAMEDA AVE, 32ND FL                     Red Fish Blue Fish, LLC                       D
                                    BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.37   STX INTERNATIONAL, INC       3900 W ALAMEDA AVE, 32ND FL                     JPMorgan Chase Bank, NA, as                   D
                                    BURBANK, CA 91505                               Administrative Agent                          E/F
                                                                                                                                  G




 Official Form 206H                                Schedule H: Codebtors                                            Page 5 of 9
       Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 40 of
                                                  44
Debtor Name           Migration Productions I LA, LLC                                         Case number (if known): 22-10288


       Additional Page(s) if Debtor has More Codebtors
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                    Check all schedules
                                                                                                                            that apply
2.38   STX INTERNATIONAL, INC      3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.39   STX LOUISIANA, LLC          3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                   BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                  G



2.40   STX LOUISIANA, LLC          3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.41   STX MUSIC PUBLISHING, LLC 3900 W ALAMEDA AVE, 32ND FL                        JPMorgan Chase Bank, NA, as                   D
                                 BURBANK, CA 91505                                  Administrative Agent                          E/F
                                                                                                                                  G



2.42   STX MUSIC PUBLISHING, LLC 3900 W ALAMEDA AVE, 32ND FL                        Red Fish Blue Fish, LLC                       D
                                 BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.43   STX MUSIC, LLC              3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                   BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                  G



2.44   STX MUSIC, LLC              3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.45   STX NY, INC                 3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                   BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                  G




 Official Form 206H                               Schedule H: Codebtors                                             Page 6 of 9
       Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 41 of
                                                  44
Debtor Name           Migration Productions I LA, LLC                                         Case number (if known): 22-10288


       Additional Page(s) if Debtor has More Codebtors
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                    Check all schedules
                                                                                                                            that apply
2.46   STX NY, INC                 3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.47   STX PLAN F, LLC             3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                   BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                  G



2.48   STX PLAN F, LLC             3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.49   STX PRODUCTIONS, LLC        3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                   BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                  G



2.50   STX PRODUCTIONS, LLC        3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.51   STX RECORDINGS, LLC         3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                   BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                  G



2.52   STX RECORDINGS, LLC         3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.53   STX TRUE LIFE, LLC          3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                   BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                  G




 Official Form 206H                               Schedule H: Codebtors                                             Page 7 of 9
       Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 42 of
                                                  44
Debtor Name           Migration Productions I LA, LLC                                         Case number (if known): 22-10288


       Additional Page(s) if Debtor has More Codebtors
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                    Check all schedules
                                                                                                                            that apply
2.54   STX TRUE LIFE, LLC          3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.55   STX TV, INC                 3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                   BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                  G



2.56   STX TV, INC                 3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.57   SURREAL, INC                3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                   BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                  G



2.58   SURREAL, INC                3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.59   TIME OF DEATH, LLC          3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                   BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                  G



2.60   TIME OF DEATH, LLC          3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.61   UGLY INDUSTRIES, LLC        3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                   BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                  G




 Official Form 206H                               Schedule H: Codebtors                                             Page 8 of 9
       Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 43 of
                                                  44
Debtor Name           Migration Productions I LA, LLC                                         Case number (if known): 22-10288


       Additional Page(s) if Debtor has More Codebtors
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                    Check all schedules
                                                                                                                            that apply
2.62   UGLY INDUSTRIES, LLC        3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.63   VATN VATN ALLS STADAR,      3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
       LLC                         BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                  G



2.64   VATN VATN ALLS STADAR,      3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
       LLC                         BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G



2.65   WE ARE BESTIES, LLC         3900 W ALAMEDA AVE, 32ND FL                      JPMorgan Chase Bank, NA, as                   D
                                   BURBANK, CA 91505                                Administrative Agent                          E/F
                                                                                                                                  G



2.66   WE ARE BESTIES, LLC         3900 W ALAMEDA AVE, 32ND FL                      Red Fish Blue Fish, LLC                       D
                                   BURBANK, CA 91505
                                                                                                                                  E/F
                                                                                                                                  G




 Official Form 206H                               Schedule H: Codebtors                                             Page 9 of 9
Case 22-10288 Doc 42 Filed 03/31/22 Entered 03/31/22 23:00:42 Main Document Page 44 of
                                           44

   Debtor Name        Migration Productions I LA, LLC
   United States Bankruptcy Court for the Eastern District of Louisiana
   Case Number: 22-10288



   Official Form 202
   Declaration Under Penalty of Perjury for Non-Individual Debtors                                                           12/15
   An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
   must sign and submit this form for the schedules of assets and liabilities, any other document that requires a
   declaration that is not included in the document, and any amendments of those documents. This form must
   state the individual's position or relationship to the debtor, the identity of the document, and the date.
   Bankruptcy Rules 1008 and 9011.

   WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
   money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
   imprisonment for up to 20 years, or both. 18 U.S.C. 152, 1341, 1519, and 3571.


                Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:


             Schedule A/B: Assets- Real and Personal Property        (Official Form 206 A/B)

             Schedule D: Creditors Who Have Claims Secured by Property           (Official Form 206 D)

             Schedule E/F: Creditors Who Have Claims Unsecured Claims            (Official Form 206 E/F)

             Schedule G: Executory Contracts and Unexpired Leases           (Official Form 206 G)

             Schedule H: Codebtors                                          (Official Form 206 H)

             Summary of Assets and Liabilities for Non-Individuals       (Official Form 206Sum)

             Amended Schedule

             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
             (Official Form 204)

             Other document that requires a declaration



           I, the Authorized Signatory of the Migration Productions I LA, LLC, declare under penalty of perjury that I have read the
           foregoing summary and schedules, consisting of 29 sheets, and that they are true and correct to the best of my
           knowledge, information, and belief.



    Executed on: 3/31/2022                                          /s/ Noah Fogelson
                                                          Signature ___________________________________________
                 MM / DD / YYYY
                                                                                        Noah Fogelson
                                                          Printed Name
                                                                                     Authorized Signatory
                                                          Title
